504 F.2d 1108
    In the Matter of George Walter Kingswood and Gerd Kingswood,Bankrupts.George Walter KINGSWOOD and Gerd Kingswood, Appellants,v.Carlyle MICHELMAN, Trustee-Appellee.
    No. 72-2100.
    United States Court of Appeals, Ninth Circuit.
    Oct. 17, 1974.
    
      Stephen R. Wolfson (argued), Moneymaker &amp; Wolfson, Los Angeles, Cal., for appellants.
      Joel K. Mithers (argued), Los Angeles, Cal., for trustee-appellee.
      Before BARNES, KOELSCH and ELY, Circuit Judges.
      OPINION ON REMAND
      PER CURIAM:
    
    
      1
      Our original opinion in the subject cause is reported at 470 F.2d 996 (case 2) (9th Cir. 1972).  We based our brief reversing opinion upon the opinion of a District Court in a similar case, thought by us to be well reasoned.  In re Cedor, 337 F.Supp. 1103 (N.D.Cal.), aff'd 470 F.2d 996 (case 1) (9th Cir. 1972).
    
    
      2
      The Supreme Court has now reversed our opinion.  Michelman, Trustee, etc. v. Kingswood, 418 U.S. 902, 94 S.Ct. 3191, 41 L.Ed.2d 1150 (1974).  The Supreme Court's mandate has now been received by our court and recites that the cause 'is hereby, remanded to the United States Court of Appeals for the Ninth Circuit for further consideration in light of Kokoszka v. Belford, 417 U.S. 642, 94 S.Ct. 2431, . . ..'  74 L.Ed.2d 374 (1974).
    
    
      3
      We think that the District Court should be allowed the first opportunity for the further consideration required by the Supreme Court.  Accordingly, the judgment of the District Court is reversed, and the cause is remanded to the District Court for further proceedings not inconsistent with Kokoszka v. Belford, supra.
    
    